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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


Jeremy R. Johnson,

             Plaintiff,
                                                      COMPLAINT AND
v.
                                                  DEMAND FOR A JURY TRIAL
Consumer Portfolio Services, Inc.

             Defendant.


                                    INTRODUCTION

      1.     This is an action for damages brought by Jeremy R. Johnson against

Consumer Portfolio Services, Inc., for violations of the Telephone Consumer Protection

Act, 47 U.S.C. §227 et seq. (“TCPA”) and invasions of privacy.

                                    JURISDICTION

      2.     Jurisdiction of this Court arises under 28 U.S.C. §§ 1331 and 1337, and

supplemental jurisdiction exists the state law claim under 28 U.S.C. § 1367. This Court

has federal question jurisdiction over the TCPA. Mims v. Arrow Financial Services, LLC,

565 U.S. ____, 132 S. Ct. 740 (2012).

      3.     Venue is proper in this district because the relevant acts and transactions

occurred within Minnesota, Plaintiff resides within Minnesota and Defendant transacts

business within Minnesota.

                                        PARTIES

      4.     Plaintiff, Jeremy R. Johnson, is a natural person residing in the City of
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Minneapolis, County of Hennepin and State of Minnesota.

       5.     Defendant, Consumer Portfolio Services, Inc., (“CPS”) is a California

corporation with its principal place of business located at 19500 Jamboree Road, Irvine,

California 92612.

                                         FACTS

       6.     Sometime prior to January 1, 1999, Plaintiff purchased a vehicle financed

with a car loan from Defendant CPS. The loan was secured by a lien on Plaintiff’s

vehicle.

       7.     In June of 1999, Plaintiff suffered financial hardship and was unable to the

pay the regular, monthly payments for car loan. After several months of missed payments,

Defendant CPS repossessed Plaintiff’s vehicle.

       8.     Upon information and belief, Defendant CPS sold the vehicle and applied

the proceeds toward the balance remaining on the car loan.

       9.     Upon information and belief, Defendant CPS believed that Plaintiff owed a

deficiency on the car loan because the proceeds from the sale of the repossessed vehicle

did not cover the expenses and car loan balance.

       10.    Beginning in 1999, Defendant CPS began the process of attempting to

collect the alleged outstanding balance from Plaintiff.

       11.    Between the period of 1999 through the present, Defendant CPS has made

hundreds of phone calls to Plaintiff’s cellular telephone using an automatic telephone

dialing system.

                          Telephone Consumer Protection Act

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       12.    At all times relevant to this complaint, the Plaintiff was and is a “person” as

defined by the TCPA 47 U.S.C. § 153(32).

       13.    At all times relevant to this complaint, Defendant CPS has owned, operated,

and/or controlled “customer premises equipment” as defined by the TCPA 47 U.S.C. §

153(16) that originated, routed, and/or terminated telecommunications.

       14.    The Defendant at all times relevant to the complaint herein engages in

“telecommunications” defined by the TCPA 47 U.S.C. § 153(50).

       15.    Defendant CPS at all times relevant to the complaint herein engages in

“interstate communications” by the TCPA 47 U.S.C. § 153(22).

       16.    At all times relevant to this complaint, the Defendant CPS has used,

controlled, and/or operated “wire communications” as defined by the TCPA 47 U.S.C. §

153(52), that existed as instrumentalities of interstate and intrastate commerce.

       17.    At all times relevant to this complaint, Defendant CPS has used, controlled,

and/or operated “automatic telephone dialing systems” as defined by the TCPA 47 U.S.C. §

227(a)(1) and 47 C.F.R. 64.1200(f)(1).

                                    SPECIFIC CALLS

       18.    In the four years prior to the date of this Complaint, Defendant CPS made

in excess of 200 phone calls to Plaintiff’s cellular telephone using an automatic telephone

dialing system in an attempt to collect the alleged Debt from Plaintiff. See “CALL LIST”

attached hereto as Exhibit A.

       19.    On several occasions, Plaintiff answered the phone calls from Defendant

CPS. After the Plaintiff answered the phone, there would be a pause before an operator

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would begin speaking into the telephone. This pause before the operator began speaking

indicates that Defendant CPS was using an automatic telephone dialing system when it

made calls to Plaintiff.

       20.    On several days, Defendant CPS made five or more call to Plaintiff’s cell

phone. These repeated phone calls in a short period of time indicates that Defendant CPS

was using an automatic telephone dialing system when it made calls to Plaintiff.

                               EMOTIONAL DISTRESS

       21.    As a result of the Defendant’s repeated violations of the TCPA and

invasions of Plaintiff’s privacy, Plaintiff suffered actual damages in the form emotional

distress. Plaintiff suffered from anxiety, stress, frustration, among other negative

emotions and physical symptoms.

                                     CAUSES OF ACTION

                                    COUNT I.
             VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
                               47 U.S.C. § 227(B)(1)

       22.    Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       23.    Within the four year period immediately preceding this action, Defendant

CPS made numerous calls to the Plaintiff’s cellular telephone service using an automatic

telephone dialing system in violation of the TCPA, 47 U.S.C. Section 227(b)(1)(A)(iii),

and 47 C.F.R. 64.1200 (a)(1)(iii).

       24.    The acts and or omissions of Defendant CPS at all times material and

relevant hereto, as described in this complaint, were done unfairly, unlawfully,

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intentionally, deceptively and absent bona fide error, lawful right, legal defense, legal

justification or legal excuse.

       25.    As a causally-direct and legally proximate result of the above violations of

the TCPA and the C.F.R., Defendant CPS at all times material and relevant hereto, as

described in this Complaint, caused Plaintiff to sustain damages.

       26.    Under the 47 U.S.C. Section 227(b)(3)(B), the Plaintiff is entitled to

statutory damages under the TCPA of $500.00 per phone call made to Plaintiff.

       27.    Defendant CPS willfully and knowingly violated the TCPA, and as such the

Plaintiff is entitled to $1,500.00 per phone call made to the Plaintiff pursuant to the 47

U.S.C. Section 227(b)(3).

       28.    Plaintiff is entitled to injunctive relief prohibiting Defendant CPS from

contacting the Plaintiff on his cellular phone using an automated dialing system pursuant

to the 47 U.S.C. Section 227(b)(3)(a).

                                    COUNT II.
                  INVASION OF PRIVACY BY INTRUSION ON SECLUSION

       29.    Plaintiff incorporates by reference all of the paragraphs of this Complaint

as though fully stated herein.

       30.    Defendant CPS and/or its agents intentionally and/or negligently interfered,

physically or otherwise, with the solitude, seclusion and or private concerns or affairs of

this Plaintiff, namely, by repeatedly and unlawfully making phone calls to Plaintiff in

violation of the TCPA. See Owners Ins. Co. v. European Auto Works, Inc., 695 F.3d 814,

819 – 820 (8th Cir. 2012) (“We conclude that the ordinary meaning of the term “right of


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privacy” easily includes violations of the type of privacy interest protected by the TCPA.

Our court has previously stated that violations of the TCPA are “‘invasions of privacy’

under [the] ordinary, lay meaning[] of the[] phrase [].”)(quoting Universal Underwriters

Ins. Co. v. Lou Fusz Auto. Network, Inc., 401 F.3d 876, 881 (8th Cir. 2005)).

       31.    Defendant CPS and/or its agents intentionally and/or negligently interfered,

physically or otherwise, with the solitude, seclusion and or private concerns or affairs of

this Plaintiff, namely, by repeatedly and unlawfully attempting to collect the alleged Debt.

       32.    Defendant CPS and its agents intentionally and/or negligently caused

emotional harm to Plaintiff by engaging in highly offensive conduct in the course of

collecting this debt, thereby invading and intruding upon Plaintiff’s right to privacy.

       33.    Plaintiff had a reasonable expectation of privacy in Plaintiff’s solitude,

seclusion, private concerns or affairs.

       34.    The conduct of Defendant CPS and its agents, in engaging in the above-

described illegal collection conduct against Plaintiff, resulted in multiple intrusions and

invasions of privacy by Defendant CPS which occurred in a way that would be highly

offensive to a reasonable person in that position.

       35.    As a result of such intrusions and invasions of privacy, Plaintiff is entitled

to actual damages in an amount to be determined at trial from Defendant.

                                 PRAYER FOR RELIEF

       THEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant for the following:

                                          COUNT I.

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                  Violations of the Telephone Consumer Protection Act

       1.       For a declaration that Defendant CPS’s telephone calls to Plaintiff violated

the TCPA;

       2.       For an award of damages consistent with the TCPA, 47 U.S.C. §

227(b)(3)(B);

       3.       For an award of triple the damages available under 47 U.S.C. § 227(b)(3)

for willful or knowing violations of the TCPA;

       4.       For a permanent injunction prohibiting Defendant CPS from placing non-

emergency telephone calls to Plaintiff’s cellular telephone using an automatic telephone

dialing system or pre-recorded or artificial voice; and

       5.       Such other or further relief as the Court deems proper;

                                       COUNT II.
                     Invasion of Privacy by Intrusion Upon Seclusion

       6.       For an award of actual damages for the emotional distress suffered as a

result of the TCPA violations and invasions of privacy in an amount to be determined at

trial; and

       7.       For such other and further relief as may be just and proper.




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                                           HEANEY LAW FIRM, LLC


Date: February 19, 2014                    s/ Mark L. Heaney
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                                           Attorney for Plaintiff
	  
	  
	  




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           EXHIBIT “A”
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                                             CALL	  LIST	  
	  
           No:         Date          Time (CST)       PM/AM       Incoming Number
            1        4/23/2013	       11:50	           am	       949-­‐788-­‐5600	  
            2	       5/8/2013	       12:56	           am	      (877)	  757-­‐4365	  
            3	      7/10/2013	        3:36	           pm	      (877)	  757-­‐4365	  
            4	      7/24/2013	        3:14	           pm	      (877)	  757-­‐4365	  
            5	       8/5/2013	       10:53	           am	      (877)	  757-­‐4365	  
            6	      8/26/2013	       11:25	           am	      (877)	  757-­‐4365	  
            7	       9/9/2013	       12:35	           pm	      (877)	  757-­‐4365	  
            8	      9/10/2013	       10:08	           am	      (877)	  757-­‐4365	  
            9	      9/16/2013	        8:37	           am	      (877)	  757-­‐4365	  
           10	      9/23/2013	        8:51	           am	       CPS	  Unknown	  
           11	      9/25/2013	        8:48	           am	      (877)	  757-­‐4365	  
           12	      9/25/2013	        1:23	           pm	      (877)	  757-­‐4365	  
           13	      9/26/2013	        8:28	           am	      (877)	  757-­‐4365	  
           14	      10/4/2013	       11:18	           am	      (877)	  757-­‐4365	  
           15	     10/10/2013	        7:39	           am	      (877)	  757-­‐4365	  
           16	     10/11/2013	        8:05	           am	      (877)	  757-­‐4365	  
           17	     10/16/2013	        7:55	           am	      (877)	  757-­‐4365	  
           18	     10/25/2013	       10:31	           am	      (877)	  757-­‐4365	  
           19	     11/01/2013	       10:42	           am	      (877)	  757-­‐4365	  
           20	     11/01/2013	       11:13	           am	      (877)	  757-­‐4365	  
           21	      11/4/2013	        8:47	           am	       CPS	  Unknown	  
           22	      11/5/2013	       12:07	           pm	      (877)	  757-­‐4365	  
           23	     11/11/2013	        1:22	           pm	      (877)	  757-­‐4365	  
           24	     11/12/2013	       10:18	           am	      (877)	  757-­‐4365	  
           25	     11/18/2013	        9:03	           am	      (877)	  757-­‐4365	  
           26	     11/19/2013	       10:14	           am	      (877)	  757-­‐4365	  
           27	     11/27/2013	        9:11	           am	      (877)	  757-­‐4365	  
           28	     12/02/2013	        2:58	           pm	      (877)	  757-­‐4365	  
           29	     12/11/2013	       12:47	           pm	      (877)	  757-­‐4365	  
           30	     12/12/2013	        8:29	           am	      (877)	  757-­‐4365	  
           31	     12/17/2013	        8:13	           am	      (877)	  757-­‐4365	  
           32	     12/20/2013	        8:50	           am	      (877)	  757-­‐4365	  
           33	     12/27/2013	        3:07	           pm	      (877)	  757-­‐4365	  
           34	     12/30/2013	        9:53	           am	      (877)	  757-­‐4365	  
           35	      1/06/2014	        2:11	           pm	       CPS	  Unknown	  
           36	      1/13/2014	        1:39	           pm	       CPS	  Unknown	  
           37	      1/20/2014	       12:03	           pm	       CPS	  Unknown	  
           38	      1/27/2014	        8:29	           am	       CPS	  Unknown	  
           39	      2/03/2014	        8:31	           am	       CPS	  Unknown	  
	  
